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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

BUNDREN LAW GROUP, PLLC                    §
                                           §
v.                                         §   CIVIL NO. 4:24-CV-900-ALM
                                           §
ATLANTIC SPECIALTY                         §
INSURANCE COMPANY, ET. AL                  §


                            ORDER DISSOLVING TRO

      “Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction

is power to declare the law, and when it ceases to exist, the only function remaining

to the court is that of announcing the fact and dismissing the cause . . . The

requirement that jurisdiction be established as a threshold matter springs from the

nature and limits of the judicial power of the United States and is inflexible and

without exception.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94–95, 118 S.

Ct. 1003, 1012, 140 L. Ed. 2d 210 (1998) (cleaned up) (citations omitted).

      The Court’s jurisdiction over this case remains an open question because

Defendant TGP Communications, LLC (“TGP”) has failed to allege facts establishing

diversity of citizenship. Accordingly, this Court has no power to proceed in this case

until it has determined subject-matter jurisdiction. Because the Court cannot make

any merits-based decision or impose any relief at this time, preliminary or otherwise,

the TRO currently in place must be DISSOLVED.




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                                                I.

      TGP removed this case to federal court, alleging that the Court has diversity

jurisdiction under 28 U.S.C. § 1332. (Dkt. #1). “To properly allege diversity

jurisdiction under § 1332, the parties need to allege complete diversity.” MidCap

Media Fin., L.L.C. v. Pathway Data, Inc., 929 F.3d 310, 313 (5th Cir. 2019) (quotation

omitted). Complete diversity requires “all persons on one side of the controversy [to]

be citizens of different states than all persons on the other side.” Id. (quotation

omitted).

      Citizenship of an entity depends on its form. Because citizenship is form

dependent, different business associations are charged with presenting different

factual allegations to establish citizenship. A court cannot determine whether

jurisdiction exists without these allegations. See MidCap, 929 F.3d at 313.

       A corporation is “a citizen of every State and foreign state by which it has been

incorporated and of the State or foreign state where it has its principal place of

business.” 28 U.S.C. § 1332(c)(1). Thus, “allegations regarding the citizenship of a

corporation must set out the principal place of business of the corporation as well as

the state[(s)] of its incorporation.” Neeley v. Bankers Tr. Co. of Tex., 757 F.2d 621, 634

n.18 (5th Cir. 1985).

      The citizenship of an unincorporated insurance association is determined by

the citizenship of its underwriters. See Royal Ins. Co. of Am. v. Quinn-L Cap. Corp.,

3 F.3d 877, 882 (5th Cir. 1993). Thus, to adequately allege the citizenship of an

unincorporated insurance association, the parties must allege the required



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jurisdictional facts for each underwriter, depending on whether the underwriter is an

individual or an entity. See Alphonse v. Arch Bay Holdings, L.L.C., 618 F.App’x 765,

768 (5th Cir. 2015) (per curiam).

      A limited liability company is a citizen where each of its members is a citizen.

See Harvey v. Grey Wolf Drilling, Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Allegations

regarding the citizenship of an LLC require “the citizenship of every member of [the]

LLC.” Settlement Funding, L.L.C. v. Rapid Settlements, Ltd., 851 F.3d 530, 536 (5th

Cir. 2017). To adequately allege the citizenship of an LLC, the parties must allege

the required jurisdictional facts for each member, depending on whether the member

is an individual or an entity. See Alphonse v. Arch Bay Holdings, L.L.C., 618 F.App’x

765, 768 (5th Cir. 2015) (per curiam) (explaining that, when an unincorporated entity

is comprised of additional entities, the “appropriate tests for citizenship involve

tracing entities’ citizenships down the various organizational layers where

necessary”) (cleaned up)); see also, e.g., Thomason v. Outback Steakhouse of Fla.,

L.L.C., No. 1:17-CV-01541, 2019 WL 3526839, at *1 n.1 (W.D. La. May 14, 2019)

(holding that, where a defendant LLC’s sole member was itself an LLC, and the

member LLC’s sole member was a Delaware corporation with its principal place of

business in Florida, the defendant LLC’s citizenship was both Delaware and Florida).

For jurisdictional purposes, a PLLC is no different from an LLC: the parties must

allege the required jurisdictional facts for each member of the PLLC just as they

would for members of a LLC. See Folgar v. McCully & Gardner PLLC, 2022 WL

17904086, at *1 (W.D. Wash. Dec. 23, 2022) (applying the LLC standard to PLLC).



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Thus, each member’s citizenship must be alleged “distinctly and affirmatively”;

general allegations are insufficient. See Getty Oil Corp. v. Insurance Co. of North

America, 841 F.2d 1254, 1259 (5th Cir. 1988).

                                            II.

       TGP’s Notice of Removal, (Dkt. #1), is woefully inadequate concerning its

allegations of citizenship, rendering the Court’s subject-matter jurisdiction

profoundly uncertain. TGP purports to allege the citizenship of several entities

named as parties to this suit but fails to adequately allege the citizenship of all but

one of the entity-parties.1

       First, TGP fails to properly allege the citizenship of Plaintiff Bundren Law

Group, PLLC (“Bundren”). Instead of pleading the citizenship of the members of

Bundren, an LLC, as required to show this Court’s jurisdiction, TGP simply alleges

that Bundren is a “professional [LLC] with its principal place of business in Collin

County, Texas.” (Dkt. #1 at 2). TGP also indicates that Bundren is “incorporated and

organized pursuant to the laws of the State of Texas.” Of course, this information is

completely irrelevant to the citizenship question before the Court. What matters is

the citizenship of Bundren’s members, and TGP does not even identify Bundren’s

member(s), much less allege their citizenship. Having failed to establish Bundren’s

citizenship, TGP at the outset fails to establish this Court’s jurisdiction.




1  The Court notes that TGP adequately alleges the citizenship of individual defendants
James Hoft and Joe Hoft, both of whom are citizens of Florida. (Dkt. #1 at 2–3). TGP also
adequately alleges its own citizenship, identifying its sole member as James Hoft, a citizen
of Florida.

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      Second, TGP fails to properly allege the citizenship of any of the insurance

companies in this case. As to Atlantic Specialty Insurance Company (“Atlantic”) and

One Beacon Professional Insurance Group (“One Beacon”), TGP’s notice of removal

states that “Atlantic Specialty Insurance Company … is an insurance company with

its principal place of business [in Massachusetts]” and that “One Beacon Professional

Insurance Group … is an insurance company with its principal place of business [in

Kansas].” (Dkt. #1 at 2). TGP fails at the outset to allege whether Atlantic and One

Beacon are corporations, LLCs, partnerships, unincorporated insurance associations,

or some other type of entity. Having failed to distinctly allege the corporate form of

Atlantic and One Beacon, the Court cannot know their citizenship, or how to

determine their citizenship.

       As to One Beacon Professional Insurance, Inc., (“Beacon”), another insurer,

the Court presumes Beacon is a corporation based on the term “Inc.,” in its name, but

TGP fails to confirm that Beacon is a corporation. Assuming Beacon is a corporation,

TGP’s citizenship allegations once again are inadequate. TGP simply alleges that

Beacon is “a citizen of the State of Kanas” with “its principal place of business [in

Kansas].” (Dkt. #1 at 2). But a corporation is a citizen of “every State and foreign state

by which it has been incorporated and of the State or foreign state where it has its

principal place of business.” 28 U.S.C. § 1332(c)(1). For TGP to establish that Beacon

is a citizen of Kansas, and of Kansas alone, it is not enough for TGP to allege that

Beacon’s principal place of business is in Kansas; TGP must also allege Beacon’s state




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of incorporation. Since TGP fails to allege Beacon’s state of incorporation, the Court

does not have sufficient information to determine its jurisdiction.

      Finally, TGP also fails to properly allege the citizenship of Intact Insurance

Group, USA, LLC (“Intact”). As with its failure to properly allege Bundren’s

citizenship, here TGP alleges that Intact is a “citizen of the State of Minnesota,”

apparently based solely on the assertion that Intact has its principal place of business

in Minnesota. (Dkt. #1 at 2). Again, the principal place of business of an LLC is

entirely irrelevant to the Court’s analysis of diversity jurisdiction. And TGP fails to

allege the citizenship of Intact’s members, which is determinative of the citizenship

question. Not knowing the citizenship of Intact’s members, the Court is unable to

determine the citizenship of Intact itself.

                                        *     *   *   *

      As courts of limited jurisdiction, federal courts must “affirmatively ascertain

subject-matter jurisdiction before adjudicating a suit.” Nianga v. Wolfe, 435 F. Supp.

3d 739, 743 (N.D. Tex. 2020). “A party seeking a TRO cannot establish a ‘substantial

likelihood of success on the merits’ of his claim if the court concludes that it lacks

jurisdiction to adjudicate the claim altogether.” Id. Likewise, a Court cannot consider

or rule on the merits of any claims “while the Court’s subject matter jurisdiction

remains in question.” Godiciu v. J.P. Morgan Chase Bank, N.A., 2012 WL 4370263,

at *1 (S.D. Fla. 2012).

      The Court’s subject-matter jurisdiction remains very much in question here.

TGP invokes the Court’s diversity jurisdiction but has failed to properly allege the



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citizenship of the majority of named parties in the case. Absent adequate citizenship

allegations for all parties, the Court cannot know whether it has subject-matter

jurisdiction. Under the circumstances, the Court cannot proceed in this case and

certainly cannot make merits-based determinations or award relief, preliminary or

otherwise, until it has confirmed it has subject-matter jurisdiction. For these reasons,

the Court must dissolve the TRO that is currently in place. TGP must submit an

amended notice of removal alleging the facts required to establish diversity

jurisdiction.

                                          III.

       For the reasons already explained herein, see supra Part I–II, the TRO must

be dissolved because the Court’s subject-matter jurisdiction is uncertain. The Court

notes, however, that even if it had subject-matter jurisdiction, the same result would

likely have followed. If maintaining the TRO is the endzone, Bundren has not even

made it to the redzone.

       Bundren obtained a TRO only against the insurance company defendants.

Bundren’s burden to maintain the TRO is that it must clearly carry the burden of

persuasion in demonstrating (1) a substantial likelihood of success on the merits on

the identified claims against the insurers; (2) a substantial threat that Bundren will

suffer irreparable harm if the injunction is not granted; and (3) the threatened injury

to Bundren outweighs any damage that the TRO might cause the Defendants.

(Dkt. #6 at 2); U.S. v. Abbott, 110 F.4th 700, 706 (5th Cir. 2024).2 The first element—


       2 The Court does not believe that the fourth TRO element, whether the injunction

disservices the public interest, would be decisively relevant to this private party case

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the likelihood of success on the merits—is the most important. Abbott, 110 F.4th at

706. Having carefully reviewed the additional filings and applicable case law, the

Court is dubious Bundren has clearly carried its burden of persuasion on any of these

elements, and especially on substantial likelihood of success, the first and most

important.

      Bundren identifies three claims it believes it is likely to prevail on: a breach of

contract claim, a third-party beneficiary claim, and a promissory estoppel claim. The

first two claims require the existence of a valid contract to which Bundren is either a

signatory to or a beneficiary of. Inexplicably, however, Bundren failed to submit any

agreement or insurance policy supporting its claims. It is puzzling that Bundren

argued for extraordinary TRO relief without even submitting the documents on which

it apparently relies.

      In this regard, the materials presented by other parties to the case work

against Bundren’s claims. At the outset, there appears to be no dispute that the

insurance policies referenced by the parties are contracts to which Bundren is not a

party. See (Insurance Policy, Dkt. #17-7 at 3). And the documents submitted by TGP

make clear that the insurers Bundren seeks to enjoin confirmed that they were not

retaining Bundren—rather, Bundren was retained solely by TGP and the individual

defendants (James Hoft and Joe Hoft). See (Bundren Emails with Insurer,

Dkt. #17-8 at 2). Likewise, the retainer agreement submitted by TGP makes clear

that TGP and the individual defendants (James Hoft and Joe Hoft), not the insurers,



involving only monetary damages.

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are ultimately responsible for Bundren’s legal fees. See (Retainer Agreement,

Dkt. #17-2 at 1). That is to say, the retainer agreement imposes no contractual

obligation on any insurer, and no insurer is a party to Bundren’s retainer agreement.

Under the circumstances, the theory that Bundren has a viable breach-of-contract

claim of any kind against the insurers, much less a claim on which it is substantially

likely to succeed, appears to be entirely unsupported by the record. To the extent

Bundren maintains it is a third-party beneficiary of certain insurance policies, it has

not submitted any such policies into the record, nor has it cited any legal authority to

support this claim.

        As for the promissory estoppel claim—which, the Court notes in passing, would

necessarily require that no contract exists to which Bundren is a party3—Bundren

offers no legal authority or factual evidence explaining why it would be reasonable

for Bundren to have solely relied on the insurers for payment of its legal fees when

the retainer agreement says exactly the opposite: that TGP and the Hofts were

contractually responsible for such fees. See (Retainer Agreement, Dkt. #17-2 at 1).

        From a pragmatic standpoint, it appears that Bundren’s contractual claim and

related claims for legal fees, if any, are against TGP and the Hofts, who retained

Bundren, and not the insurers—who expressly did not retain Bundren. On this

record, the Court discerns no basis to enjoin the insurance company parties in this

case.




3 See Subaru of Amer., Inc. v. David McDavid Nissan, Inc., 84 S.W.3d 212, 226 (Tex. 2002)

(“[T]he promissory-estoppel doctrine presumes no contract exists ....”)

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                                        IV.

        It is ORDERED that the Temporary Restraining Order, (Dkt. #6), is

DISSOLVED effective immediately. TGP’s Emergency Motion to Dissolve

Temporary Restraining Order, (Dkt. #17), is DENIED as moot.

        It is further ORDERED that, by no later than October 22, 2024, TGP must

file an amended notice of removal that alleges facts sufficient to invoke federal

jurisdiction.

        So ORDERED and SIGNED this 18th day of October, 2024.




                                                ____________________________________
                                                SEAN D. JORDAN
                                                UNITED STATES DISTRICT JUDGE




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